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                                            STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                              DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                  LITIGATION BUREAU

                                                      August 26, 2024

    Via ECF
    Hon. Vincent L. Briccetti
    United States District Judge
    Southern District of New York
    300 Quarropas Street
    White Plains, New York 10601-4150

           Re:     Brooks v. Finnegan, 22 Cv. 6283 (VB)

    Dear Judge Briccetti:

            The Office of the Attorney General represents the Defendants in this action. We had sought
    to depose Plaintiff, as well as Ms. Duryea (his mother), and Ms. Harding (his cousin), who were
    present during the events relevant to the case, prior to August 9, 2024, at a mid-point location
    (either Albany or Saratoga Springs, New York) between my office and their residence in New
    Hampshire, but was subsequently advised that they were unable to travel due to the lack of a
    functioning vehicle. I was advised that Plaintiff, Ms. Duryea, and Ms. Harding were available
    August 27, so I noticed depositions for that date to be taken remotely. Last week I was asked if the
    depositions could be rescheduled until after the upcoming settlement conference when Plaintiff
    believes he will have counsel to assist him at the depositions. Accordingly, I write, at Plaintiff’s
    request, for permission to take the above depositions after the settlement conference before Judge
    McCarthy. Currently, all discovery in this case is to be completed by November 8, 2024.

           Thank you for your consideration.

                                                       Respectfully submitted,

                                                        /s/ Jeb Harben
                                                       Jeb Harben
                                                       Assistant Attorney General

    Cc:    Joseph A. Brooks (by mail and e-mail)
           1137 Meaderboro Road
           Farmington, New Hampshire 03835
           Pro se

                   28 Liberty Street, New York, New York 10005 ● Tel.: (212) 416-8610 ● www.ag.ny.gov
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                                   DECLARATION OF SERVICE

       Jennifer Goltche, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as

follows:

       That on April 12, 2023, I served the annexed letter upon the following named person:

                        Joseph Brooks
                        1137 Meaderboro Road
                        Farmington, New Hampshire 03835

plaintiff pro se, by depositing a true and correct copy thereof, properly enclosed in a pre-paid

wrapper, in a post-office box regularly maintained by the government of the United States at 28

Liberty Street, New York, New York 10005, directed to said person at the address within the State

designated by him for that purpose.


                                                             /s/ Jennifer Goltche
                                                             Jennifer Goltche

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Executed on April 12, 2023




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